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UNITED STATES DISTRICT COURT ""`"`---D.C.

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JACKSON

FOR 'I`HE

ORDER OF PRODUCTION
NO= 1:02crl 0026-01-'1`

USA V- Jackie L. Elliott

AD Prosequendum

FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, Terre Haute USP

YOU ARE HEREBY COMMANDED to have the person of J ackie Elliott, Inmate, # 18243-076,
by you restrained of his/her liberty, as it is said, by whatsoever names detained, together with the
day and cause of his being taken and detained, before the Honorable James D. Todd, U. S. District
Court Judge, for the Western District of Tennessee, at the room of said Court, in the City of
Jackson, Tennessee, at 8:30 a.m. on the day of 3rd day of August, 2005, then and there to do,
submit to, and receive whatsoever the said Judge shall then and there determine in that behalf; and

have you then and there this writ; further, to hold him in federal custody until disposition of this case

and to produce him for such other appearances as this court may direct.

ENTERED THIS éz dZDAY OF C(?_MA- ,20 m {/

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J ‘oDD '
UNITE ATEs DISTRICT JUDGE

 

This document
entered on the docket
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with Rure 55 and/or 32(b) FRCFP an Ef in compliance

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 120 in
case 1:02-CR-10026 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

